                                                             Case 9:16-bk-06562-FMD                          Doc 24 1 Filed 10/31/18
                                                                                                              FORM                                      Page 1 of 4
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                            Page:       1
                                                                                               ASSET CASES
Case No:             16-06562       CED     Judge: Caryl E. Delano                                                                              Trustee Name:                     Robert E. Tardif Jr.
Case Name:           NEGRETE, ELPIDIO                                                                                                          Date Filed (f) or Converted (c):   07/29/16 (f)
                                                                                                                                               341(a) Meeting Date:               08/30/16
For Period Ending: 09/30/18                                                                                                                    Claims Bar Date:                   11/28/16



                                       1                                                    2                            3                          4                         5                                   6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                 Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by               Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

 1. HOMESTEAD-6671 PANGOLA RD, FT MYERS FL                                                235,085.00                                0.00                                               0.00                     FA
 2. LAND-1507 PROSPECT AVE, LEHIGH ACRES, FL                                                 4,100.00                          1,000.00                                            1,000.00                     FA
 3. 2007 SUZUKI ($240 bank fee added)                                                        2,860.00                          1,550.00                                            1,550.00                     FA
 4. HOUSEHOLD GOODS & FURNISHINGS                                                               325.00                              0.00                                               0.00                     FA
 5. ELECTRONICS                                                                                  25.00                              0.00                                               0.00                     FA
 6. CLOTHING                                                                                     50.00                              0.00                                               0.00                     FA
 7. BANK ACCOUNT                                                                                 50.00                              0.00                                               0.00                     FA

                                                                                                                                                                                                 Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                       $242,495.00                          $2,550.00                                           $2,550.00                            $0.00
                                                                                                                                                                                                 (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   August 17, 2016 (GAH) Reschedule 341 to 9/6/16 at 8:45 am. Atty will send out notice.


   October 12, 2017 (RET) - Preparing proposed repurchase agreement.


   Stip for $2,550.00 at $212.50 per mo. for 12 months beginning 11/1/17.


   November 21, 2017 (RET) - Signed payment stipulation.


   February 01, 2018 (GAH) All payments received.


   March 01, 2018 (BLK) - There are no filed claims. Sent letter to Creditor in an attempt to get a claim filed.




LFORM1                                                                                                                                                                                                                         Ver: 20.02
                                                            Case 9:16-bk-06562-FMD                        Doc 24 1 Filed 10/31/18
                                                                                                           FORM                       Page 2 of 4
                                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                               Page:      2
                                                                                              ASSET CASES
Case No:            16-06562        CED    Judge: Caryl E. Delano                                                             Trustee Name:                      Robert E. Tardif Jr.
Case Name:          NEGRETE, ELPIDIO                                                                                          Date Filed (f) or Converted (c):   07/29/16 (f)
                                                                                                                              341(a) Meeting Date:               08/30/16
                                                                                                                              Claims Bar Date:                   11/28/16


   June 13, 2018 (RET) - Still a surplus case.


   Initial Projected Date of Final Report (TFR): 07/28/18           Current Projected Date of Final Report (TFR): 12/20/18


           /s/     Robert E. Tardif Jr.
   __________________________________________ Date: 10/31/18
           ROBERT E. TARDIF JR.




LFORM1                                                                                                                                                                                          Ver: 20.02
                                                           Case 9:16-bk-06562-FMD                 Doc 24          Filed 10/31/18          Page 3 of 4
                                                                                                     FORM 2                                                                                                   Page:      1
                                                                            ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:               16-06562 -CED                                                                                            Trustee Name:                       Robert E. Tardif Jr.
  Case Name:             NEGRETE, ELPIDIO                                                                                         Bank Name:                          BOK FINANCIAL
                                                                                                                                  Account Number / CD #:              *******7863 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8958
  For Period Ending: 09/30/18                                                                                                     Blanket Bond (per case limit):      $ 26,930,000.00
                                                                                                                                  Separate Bond (if applicable):


           1                2                               3                                                 4                                                 5                         6                         7
    Transaction         Check or                                                                                                         Uniform                                                              Account / CD
       Date             Reference                 Paid To / Received From                         Description Of Transaction            Tran. Code       Deposits ($)            Disbursements ($)             Balance ($)
                                                                                      BALANCE FORWARD                                                                                                                        0.00
          10/24/17          3        Elpidio Negrete                                  Payment on Overage (Doc #21)                      1129-000                     212.50                                               212.50
          11/27/17          3        Elpidio Negrete                                  Payment on Overage (Doc #21)                      1129-000                     212.50                                               425.00
          01/08/18          3        Elpidio Negrete                                  Payment on Overage (Doc #21)                      1129-000                     212.50                                               637.50
          02/01/18         2, 3      Elpidio Negrete                                  Payment on Overage (Doc #21)                                                  1,912.50                                            2,550.00
                                                                                      $240.00 bank fee
                                                                                         Memo Amount:             1,000.00              1110-000
                                                                                      Payment on Overage
                                                                                         Memo Amount:              912.50               1129-000
                                                                                      Payment on Overage
          02/28/18                   BOK FINANCIAL                                    BANK SERVICE FEE                                  2600-000                                                10.00                   2,540.00
          03/30/18                   BOK FINANCIAL                                    BANK SERVICE FEE                                  2600-000                                                10.00                   2,530.00
          04/30/18                   BOK FINANCIAL                                    BANK SERVICE FEE                                  2600-000                                                10.00                   2,520.00
          05/31/18                   BOK FINANCIAL                                    BANK SERVICE FEE                                  2600-000                                                10.00                   2,510.00
          06/29/18                   BOK FINANCIAL                                    BANK SERVICE FEE                                  2600-000                                                10.00                   2,500.00
          07/31/18                   BOK FINANCIAL                                    BANK SERVICE FEE                                  2600-000                                                10.00                   2,490.00
          08/31/18                   BOK FINANCIAL                                    BANK SERVICE FEE                                  2600-000                                                10.00                   2,480.00
          09/28/18                   BOK FINANCIAL                                    BANK SERVICE FEE                                  2600-000                                                10.00                   2,470.00

                                             Memo Allocation Receipts:            1,912.50                    COLUMN TOTALS                                         2,550.00                     80.00                   2,470.00
                                         Memo Allocation Disbursements:               0.00                        Less: Bank Transfers/CD's                             0.00                      0.00
                                                                                                              Subtotal                                              2,550.00                     80.00
                                                   Memo Allocation Net:           1,912.50                        Less: Payments to Debtors                                                       0.00
                                                                                                              Net
                                                                                                                                                                    2,550.00                     80.00
                                                                                                                                                                                      NET                            ACCOUNT
                     Total Allocation Receipts:             1,912.50                                           TOTAL - ALL ACCOUNTS                     NET DEPOSITS             DISBURSEMENTS                       BALANCE
               Total Allocation Disbursements:                  0.00                         Checking Account (Non-Interest Earn - ********7863                    2,550.00                       80.00                  2,470.00
                                                                                                                                                      ------------------------   ------------------------   ------------------------
                     Total Memo Allocation Net:             1,912.50
                                                                                                                                                                   2,550.00                       80.00                  2,470.00
                                                                                                                                                      ==============             ==============             ==============

                                                                                                                                  Page Subtotals                    2,550.00                      80.00
                                                                                                                                                                                                                        Ver: 20.02
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                                                                                     FORM 2                                                                                       Page:      2
                                                                 ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:          16-06562 -CED                                                                              Trustee Name:                    Robert E. Tardif Jr.
  Case Name:        NEGRETE, ELPIDIO                                                                           Bank Name:                       BOK FINANCIAL
                                                                                                               Account Number / CD #:           *******7863 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8958
  For Period Ending: 09/30/18                                                                                  Blanket Bond (per case limit):   $ 26,930,000.00
                                                                                                               Separate Bond (if applicable):


          1            2                         3                                            4                                            5                       6                  7
    Transaction    Check or                                                                                           Uniform                                                     Account / CD
       Date        Reference           Paid To / Received From                    Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                                                                                                                   (Excludes Account        (Excludes Payments            Total Funds
                                                                                                                                           Transfers)              To Debtors)              On Hand




                                                                                                               Page Subtotals                        0.00                  0.00
                                                                                                                                                                                            Ver: 20.02
LFORM24
